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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                     Chapter 11
                                                     Case No. 22-11068-JTD
                                                     (Jointly Administered)
    In re                                            Re: 1324
    FTX Trading Ltd., et al.,
    Debtors.1                                        Objection Deadline:
                                                     September 27, 2023 at 4:00 p.m. (ET)
                                                     Hearing Date:
                                                     October 19, 2023 at 1:00 p.m. (ET)

       MEDIA INTERVENORS’ OBJECTIONS TO THE SECOND JOINT MOTION
        OF THE DEBTORS AND THE OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS FOR AN ORDER AUTHORIZING THE MOVANTS TO REDACT OR
       WITHHOLD CERTAIN CONFIDENTIAL INFORMATION OF CUSTOMERS


          Media Intervenors Bloomberg L.P., Dow Jones & Company, Inc., The New York Times

Company, and The Financial Times Ltd (together “Media Intervenors”), hereby object to the joint

motion of the Debtors and the Official Committee of Unsecured Creditors (the “Official Commit-

tee”) (together “Movants”) for an order authorizing them to continue to redact the names, ad-

dresses, and e-mail address of all of Debtors’ customers—including, specifically, entities and in-

stitutional creditors who were also Debtors’ customers—from any filings with the Court or made

publicly available in these Chapter 11 cases for an additional 90 days. D.I. 2508. 2




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  FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and 4063,
respectively. Due to the large number of debtor entities in these Chapter 11 cases, a complete list
of the Debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the Debtors’ claims
and noticing agent at https://cases.ra.kroll.com/FTX.
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  Media Intervenors dispute that Movants were not required to give them notice of this motion.
Movants’ failure to notify Media Intervenors, and contention that “in light of the nature of the
relief requested, no other or further notice need be provided[,]” D.I. 2508 ¶ 26, is both puzzling
and problematic given that that Media Intervenors have consistently objected to the relief sought


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                                        BACKGROUND

       1.      The background relevant to these objections is more fully set forth in Media Inter-

venors’ prior filings in this matter, see D.I. 196, D.I. 1226; D.I. 1406, which are incorporated by

reference herein. In brief:

       2.      Media Intervenors sought to intervene in these Chapter 11 cases for the limited

purpose of opposing the redaction of the names of Debtors’ creditors in court filings. See D.I. 196.

On December 19, 2022, the Court granted Media Intervenors’ motion to intervene. D.I. 255.

       3.      On June 15, 2023—over the objections of Media Intervenors, D.I. 1406, and the

U.S. Trustee—this Court entered an order granting in part and denying in part Movants’ joint

motion, D.I. 1324, for an ‘Order Authorizing the Movants to Redact or Withhold Certain Confi-

dential Information of Customers and Personal Information of Individuals.” D.I. 1643. The June

15 Order authorized Movants: (1) pursuant to § 107(b)(1), to continue to “redact the names, ad-

dresses and e-mail addresses of all of the Debtors’ customers from all filings with the Court or

made publicly available in these Chapter 11 Cases” in “which disclosure would indicate the status

of such person or entity as a customer” for an additional 90 days, and allowing any party to seek

further extension of that time period; and (2) pursuant to § 107(c)(1), “to permanently redact the

names of all customers who are natural persons from all filings with the Court or made publicly

available in these Chapter 11 Cases in which disclosure would indicate such person’s status as a

customer.” D.I. 1643 ¶¶ 2, 4.

       4.      On June 22, 2023, Media Intervenors timely appealed the June 15 Order. D.I. 1688.

That appeal is pending in the United States District Court for the District of Delaware. See




(as Movants note, D.I. 2508 ¶14), and have a pending appeal addressing the redaction/withholding
of customer-creditor names.


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Bloomberg L.P., et al. v. FTX Trading Ltd., et al., Civil Action No. 23-682-CFC (D. Del.).

                                            ARGUMENT

       5.        For the reasons set forth in their prior filings, which are expressly incorporated by

reference herein, Media Intervenors object to Movants’ request that they be permitted to continue

to redact the names of Debtors’ creditors who were also customers of Debtors’ exchanges from all

filings in these Chapter 11 cases for an additional 90 days. See D.I. 196, D.I. 1226; D.I. 1406.

       6.        Moreover, Movants offer no new evidence, whatsoever, in support of their motion.

Media Intervenors respectfully submit that simply stating discussions with third parties are “ongo-

ing,” D.I. 2508 ¶1, is not a sufficient basis for an extension of the redaction deadline.

       For the foregoing reasons, Media Intervenors respectfully request that the Court deny Mo-

vants’ motion.


                                                   Respectfully submitted,

Dated: September 26, 2023                          /s/ David L. Finger
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                         CERTIFICATE OF SERVICE

      I, David L. Finger, hereby certify that on this 26th day of September, 2023, in

accordance with Del. Bankr. Local Rule 9036-1(b), I caused the foregoing Media

Intervenors’ Objections To The Second Joint Motion Of The Debtors And The

Official Committee Of Unsecured Creditors For An Order Authorizing The Movants

To Redact Or Withhold Certain Confidential Information Of Customers via

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